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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                         CASE NO. 1:02cr45-MP-GRJ-3

CRAIG CHARLES BOLLES

_____________________________/

                                       ORDER
       This cause comes on for consideration upon the magistrate judge's Report and
Recommendation dated May 2, 2012. (Doc. 203). The parties have been furnished a copy
of the Report and Recommendation and have been afforded an opportunity to file
objections pursuant to Title 28, United States Code, Section 636(b)(1). I have made a de
novo determination of any timely filed objections.
       Having considered the Report and Recommendation, and any objections thereto
timely filed, I have determined that the Report and Recommendation should be adopted.
       Accordingly, it is now ORDERED as follows:
       1.    The magistrate judge’s Report and Recommendation is adopted and
incorporated by reference in this order.
       2.    Defendant’s Motion for Relief from Judgment or Order (doc. 193) is
GRANTED.
       3.    The Second Amended Judgment (doc. 178) is VACATED, and a Third
Amended Judgment will be entered separately, reimposing the same sentence.
       4.    Defendant is advised that he has fourteen days from the date of the
reimposed sentence in which to file a notice of appeal.
       DONE and ORDERED this 5th day of June, 2012.



                                           s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           CHIEF UNITED STATES DISTRICT JUDGE
